                      Case 2:09-cr-00091-MEF-TFM Document 118 Filed 11/30/09 Page 1 of 5
A0 245B        (Rev. 09/08) Judgment in a Criminal Case
               Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

             UNITED STATES OF AMERICA                                      \       JUDGMENT IN A CRIMINAL CASE
                                                                           )
                                   V.                                      )
                  ESSIE SANTANTA DAVIS
                                                                                      Case Number:          2 :09CR9 1 -MEF-06

                                                                           )          USM Number:           12737-002
                                                                           )
                                                                           )          William Blanchard, Jr.
                                                                                      Defendant's Attomey
THE DEFENDANT:
X pleaded guilty to count(s)         7 of the Indictment on 8/18//2009
LI pleaded nob contendere to count(s)
   which was accepted by the court.
O was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended              Count

18:641 and 2                       Theft/Embezzlement of Government Property/Aiding & Abetting                9/13/2005                      7




       The defendant is sentenced as provided in pages 2 through                  5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)            _________                                        _________
X Count(s) I of the Indictment                            X is     LI are dismissed on the motion of the United States.

         It is ordered that the defendant must notif' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notiI' the court and United States attorney of material changes in economic circumstances.


                                                                           Date of Imposition of Judgment




                                                                           Signature of




                                                                           MARK F. FULLER CHIEF' U. S. DISTRICT JUDGE                                 -
                                                                           Name and Title of Judge



                                                                           Date
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                            Judgment—Page      2     of        5
DEFENDANT:     ESSIE SANTANTA DAVIS
CASE NUMBER: 2:09CR91-MEF-06
                                                                 PROBATION

 The defendant is hereby sentenced to probation for a term of:

 Three (3) years.




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ?f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, f applicable.)

 o      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)
 0 The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
         If this judgment imposes a fme or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 4C - Probation
                                                                                            Judgment—Page     3    of         5
DEFENDANT:                 ESSIE SANTANTA DAVIS
CASE NUMBER:               2:09CR91-MEF-06

                                         SPECIAL CONDITIONS OF SUPERVISION

Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the Court unless in compliance with the payment schedule.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this Court.
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           (Rev. 09/08) Judgment in a Criminal Case
AO 245B
           Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment—Page       4      of        5
DEFENDANT:                         ESSIE SANTANTA DAVIS
CASE NUMBER:                       2:09CR91-MEF-06
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                       Fine                               Restitution
 TOTALS            $ 100.00                                           $0                                $ 2,000.00


 D The determination of restitution is deferred until _____. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 1J The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelypropottioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                 Total Loss*                     Restitution Ordered                   Priority or Percentage

 FEMA Lockbox                                                                                  2,000.00
 P.O. Box 70941
 Charlotte, NC 28272-0941
 In Re: Essie Davis, FEMA ID:
 XX-XXXXXXX Disaster #: 1604




 TOTALS                              $                                      $ _____            2,000.00


 G Restitution amount ordered pursuant to plea agreement $

 O The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the             0 fme X restitution.
      0 the interest requirement for the              0 fine 0 restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                               Judgment - Page      5      of          5
DEFENDANT:     ES STE SANTANTA DAVIS
CASE NUMBER: 2:09CR91-MEF-06

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A x Lump sum payment of$ 2,100.00                           - due immediately, balance due

           D not later than                                           ,or
           x in accordance         D C, LI] D, 0 E, or x F below; or
 B         Payment to begin immediately (may be combined with D C, D D, or                                 F below); or

 C 0 Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $          ___________ over a period of
          ____________ (e.g., months or years), to commence         ______         (e.g., 30 or 60 days) after the date of this judgment; or

 D 0 Payment in equal               ______            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
           __________ (e.g., months or years), to commence                              (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E U Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F x Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box 711,
           Montgomery, AL 36101. Any balance remainmg at the start of probation shall be paid at the rate of not less than $100.00 per
           month.



 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetaiy penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.

 o The defendant shall pay the following court cost(s):

 U The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
